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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Michael J Brosnahan,                            No. CV-16-08277-PCT-DLR
10                  Plaintiff,                       ORDER
11   v.
12   Caliber Home Loans Incorporated, et al.,
13                  Defendants.
14
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16            The Court has reviewed the parties’ Stipulation and Joint Motion to Extend Time
17   to Commence Discovery and to Postpone the Rule 16 Hearing. (Doc. 21.) For good cause
18   shown,
19            IT IS ORDERED that the parties’ Stipulation and Joint Motion to Extend Time to
20   Commence Discovery and to Postpone the Rule 16 Hearing is GRANTED.
21            IT IS FURTHER ORDERED vacating the Rule 16 Scheduling Conference set
22   for April 14, 2017 at 9:00 a.m. The Rule 16 Scheduling Conference shall be rescheduled
23   after the Court has ruled on the pending motion to dismiss (Doc. 14). The other deadlines
24   set forth in the Court’s February 9, 2017 Order Setting Rule 16 Scheduling Conference
25   //
26   //
27   //
28   //
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 1   are also vacated, and will be rescheduled by the Court after it has ruled on the pending
 2   motion to dismiss.
 3         Dated this 21st day of March, 2017.
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                                                 Douglas L. Rayes
 8                                               United States District Judge
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